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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

   NATIONAL LABORATORIES, LLC, THE LUKENS                     )
   INSTITUTE, LLC, TREASURE COAST                             )
   RECOVERY, LLC                                              )
                                                              )
                 Plaintiffs,                                  )
          v.                                                  )    Case No. 9:17-cv-81178-DMM
                                                              )
   UNITEDHEALTH GROUP, INC., UNITED                           )
   HEALTHCARE SERVICES, INC.,                                 )
   UNITEDHEALTHCARE INSURANCE COMPANY,                        )
   UNITED HEALTHCARE SERVICES LLC,                            )
   OPTUM, INC. and GOLDEN RULE INSURANCE                      )
   COMPANY                                                    )
                                                              )
                 Defendants and Counter-Plaintiffs.           )
                                                              )
          v.                                                  )
                                                              )
   NATIONAL LABORATORIES, LLC, THE LUKENS                     )
   INSTITUTE, LLC, TREASURE COAST RECOVERY,                   )
   LLC, TREATMENT MANAGEMENT COMPANY,                         )
   LLC, WELLNESS COUNSELING AND RESIDENTIAL)
   DETOXIFICATION, LLC, SUNSHINE DOCTORS     )
   GROUP, LLC, and AID IN RECOVERY, LLC      )
                                             )
               Counter-Defendants.           )
                                             )

   PLAINTIFFS/COUNTER-DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT AS
     TO DEFENDANTS’ AMENDED COUNTERCLAIM, AND PARTIAL SUMMARY
           JUDGMENT AS TO DEFENDANTS’ AFFIRMATIVE DEFENSES
          Plaintiffs National Laboratories, LLC (“National Labs”), The Lukens Institute, LLC
   (“Lukens”) and Treasure Coast Recovery, LLC (“Treasure Coast”) (collectively, “Plaintiffs”), and
   Third-Party Counter-Defendants Treatment Management Company, LLC (“TMC”), Wellness
   Counseling and Residential Detoxification, LLC (“Wellness”), Sunshine Doctors Group, LLC
   (“Sunshine Doctors”), and Aid in Recovery, LLC (“AIR”) (collectively with Plaintiffs, “Counter-
   Defendants” or the “TMC Entities”), pursuant to Fed. R. Civ. P. 56, submit this Motion for
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   Summary Judgment, on Defendants’ Amended Counterclaim (“Counterclaim”) [ECF No. 158] and
   Defendants’ Original Answer and Defenses [ECF No. 123], and state as follows:
                                         I.       INTRODUCTION
           This case was, and continues to be, a payment dispute between the TMC Entities and United.
   The TMC Facilities provided life-saving substance abuse treatment to United’s members; United
   flatly, and unlawfully, refused to pay those claims. The TMC Entities attempted to amicably resolve
   this dispute short of litigation without success, resulting in this lawsuit. In the lawsuit, plaintiffs have
   exposed United’s “Florida initiative,” in which United targeted for “audit” intervention high-volume
   out of network substance abuse providers, without a shred of evidence of wrongdoing. In response,
   United’s litigation strategy was to file counterclaims accusing the TMC facilities of being
   criminals—without any evidence to support this inflammatory claim.
           Summary judgment should be entered against United on each claim. First, United’s damages
   theory for its FDUTPA and Unjust Enrichment claims are entirely contrary to Florida law. United’s
   theory that it is entitled to a complete recoupment of all benefits it ever paid for services even if
   validly and diligently rendered by the TMC Entities, preauthorized, reviewed, and found covered
   and medically necessary is in no way the measure of “actual damages” under FDUTPA, or the
   measure of restitution for the amount in which the TMC Entities were unjustly enriched. Similarly,
   United’s theory that it is entitled to such wholesale recoupment of any and all benefits because of
   alleged unlawful “patient brokering” has nothing to do with the services at issue, and has been
   expressly rejected by the Southern District Court of Florida.
           Indeed, United cannot show it suffered any “actual damages” caused by purported “patient
   brokering” or “deceptive” drug testing and billing, or that United “unjustly enriched” the TMC
   Entities as a result. For the few claims that United actually paid, it did so with its eyes wide open,
   pre-authorizing services and then determining coverage and paying claims that were submitted with
   every material claim detail. United cannot show evidence to contradict this.
           United also cannot prove liability for its FDUTPA and Unjust Enrichment claims. Florida
   precedent establishes that United, an insurance company, is not a “consumer” for FDUTPA
   purposes, and thus has no standing to bring this claim. In addition, United cannot show that
   Counter-Defendants committed any “objectively deceptive act” under FDUTPA when United
   received complete claims reflecting the frequency, manner and billed charge for services before
   determining whether, and how much to pay. As for United’s claim that Counter-Defendants violated

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   FDUTPA based on alleged “patient brokering,” this is a gross mischaracterization of the TMC
   Facilities’ business structure. United knows full well that the TMC facilities’ usage of a call center,
   under the TMC umbrella, to screen potential patients for eligibility, verify insurance benefits, and
   coordinate appropriate care, is entirely appropriate and falls far outside Florida patient brokering
   law. United cannot produce evidence to the contrary, because such evidence does not exist.
          United’s unjust enrichment claim, based on the same alleged “deceptive practice” and
   “patient brokering,” fails for the same reasons. In addition, under Florida’s voluntary payment
   doctrine, United cannot recover restitution having paid for services that were rendered with full
   knowledge of the facts. The TMC facilities provided services to United members and were
   appropriately compensated by United in the small number of cases where United actually paid.
          Summary judgment should be entered on the ERISA § 502(a)(3) claim as well. United
   cannot show that it is entitled to equitable relief under ERISA, as United cannot show that National
   Labs committed any wrongdoing, or violated any ERISA plan or provision by submitting bills with
   what United asserts was a simple coding error. Nor can United show that it maintains a confidential
   relationship with National Labs as required to obtain the equitable relief it seeks.
          The true dispute amongst the parties involves United’s nonpayment for medically necessary
   substance abuse claims. United’s meritless counterclaims should be summarily adjudicated because
   they fail as a matter of law and so that the parties can focus on the actual dispute at hand.
                         II.     BACKGROUND AND MATERIAL FACTS
          The material facts upon which Counter-Defendants rely for this Motion are simple, and
   supported by the evidence. They concern the relationship between the affiliated TMC Entities, the
   normal and accepted business and utilization management practices of the TMC Entities, United’s
   undisputed claims processing and audit procedures, and the nature of the claims in dispute. These
   material facts are set forth in full, in the Statement of Material Facts (“SMF”) submitted herewith,
   and cited and referenced accordingly in this Motion.
          On June 6, 2018, United filed its Amended Counterclaim (ECF No. 158.), which is currently
   the subject of a pending Motion to Dismiss (ECF No. 184). The Amended Counterclaim asserts four
   causes of action for (1) Violation of Florida’s Deceptive and Unfair Trade Practices Act, Fla. Stat. §
   502.201 et seq. (“FDUTPA”) as to all Counter-Defendants; (2) Unjust Enrichment as to National
   Labs, Lukens, Treasure Coast, Sunshine Doctors and Wellness; (3) a Claim for Overpayment under
   ERISA § 502(a)(3) as to National Labs; and (4) Declaratory Relief. For the reasons set forth herein,

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   summary judgment should be entered for Counter-Defendants on United’s Amended Counterclaim
   in its entirety.
          III.        LEGAL STANDARD FOR MOTIONS FOR SUMMARY JUDGMENT
           FRCP 56(a) permits a party to move for summary judgment or partial summary judgment for
   any claim or defense. “Rule 56(c) mandates the entry of summary judgment . . . against a party who
   fails to make a showing sufficient to establish the existence of an element essential to that party’s
   case, and on which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477
   U.S. 317, 322 (1986)). “When the non-moving party bears the burden of proof on an issue at trial,”
   to prevail the moving party may, but “need not ‘support its motion with affidavits or other similar
   material negating the opponent’s claim.’” Rice-Lamar v. City of Fort Lauderdale, 232 F.3d 836,
   840 (11th Cir. 2000). Instead, the moving party can “point out to the district court” “that there is an
   absence of evidence to support the nonmoving party’s case.” Id.; Nissan Fire & Marine Ins. Co.,
   Ltd. v. Fritz Companies, Inc., 210 F.3d 1099, 1102 (9th Cir. 2000) (“moving party may show that the
   nonmoving party does not have enough evidence of an essential element of its claim or defense to
   carry its ultimate burden of persuasion at trial”). Once the moving party makes this showing, “the
   burden shift[s] to the nonmoving party to designate, through affidavits or otherwise . . . , specific
   facts showing that there is a genuine issue for trial.” Young v. City of Augusta ex rel. DeVaney, 59
   F.3d 1160, 1170 (11th Cir. 1995).
                      IV.   ARGUMENT AND MEMORANDUM OF LAW
   A.      United Cannot Show any “Actual Damages” or that it “Unjustly Enriched”
           Counter-Defendants, as a Result of Alleged “Patient Brokering” or “Deception”
           As addressed below, United cannot show liability for its Florida Deceptive and Unfair Trade
   Practices Act (“FDUTPA”) or Unjust Enrichment causes of action. However, United’s faulty
   damages theory is addressed first because it reflects the one constant in United’s dealings with the
   TMC Entities - a persistent attempt to avoid the real issue of coverage to avoid paying for any
   services rendered by the TMC Entities regardless of medical necessity and shift its financial burden
   onto its members. United’s theory of damages, that it should get full restitution of all payments it
   made for all services validly and diligently rendered by the TMC Entities, preauthorized, reviewed
   and found medically necessary by United, is contrary to any appropriate measure of damages for
   FDUTPA or unjust enrichment under Florida law.
           The appropriate measure of damages for a FDUTPA claim is “actual damages,” or “the
   difference in the market value of the product or service in the condition in which it was delivered
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   and its market value in the condition it should have been delivered according to the contract of the
   parties.” Rollins, Inc. v. Heller, 454 So. 2d 580, 585 (Fla. 3d DCA 1984). “Proof of actual damages
   is necessary to sustain a FDUTPA claim.” Dorestin, 45 So.3d at 824.
           As for a claim for equitable restitution for unjust enrichment, the proper measure is not full
   restitution of any and all amounts paid to the defendant, but instead restitution of a “benefit
   conferred and accepted, which would be unjust for Defendants to retain.” State Farm, 278
   F.Supp.3d at 1330. When a defendant gives what the plaintiff pays for, or in other words, “[w]hen a
   defendant gives adequate consideration to someone for the benefit conferred, a claim of unjust
   enrichment fails.” Am. Safety Ins. Service, Inc. v. Griggs, 959 So. 2d 322, 332 (Fla. 5th DCA 2007)
   (citing Behm v. Cape Lumber Co., 834 So .2d 285, 287 (Fla. 2d DCA 2002) (party who completed
   performance under its contract with a third party could not be unjustly enriched by benefits conferred
   on the third party by the plaintiff).
           Accordingly, the measure of damages for both state law causes of action is some measure of
   the difference of what was paid and the market value of services rendered caused by the purported
   wrongdoing. Yet, United seeks wholesale recoupment of all amounts it paid for services rendered by
   Counter-Defendants from 2014-2017 irrespective of whether the service was medically necessary or
   any alleged wrongdoing tainted the claim for reimbursement 1 (Id. at ¶¶ 110, 245.) There is no basis
   for such recovery under Florida Law.
           United’s faulty reasoning for this gross mischaracterization of actual damages appears to be
   that Cross-Defendants’ alleged general “deceptive and unfair trade practices” renders claims for all
   services ever provided to United members non-compensable. (Id.). According to United, Counter-
   Defendants’ excessive UDT and overbilling “caused United to pay or authorize payment . . . for
   medical services that were unauthorized, medically unnecessary, and non-compensable.”
   (Counterclaim, ¶ 245.) Yet, United’s pleading does not identify which claims it actually paid were
   for unauthorized or medically unnecessary services. Even if United takes issue with some claims or
   the TMC Entities testing practices, this does not warrant a wholesale refund of every cent United
   ever paid. This is even more apparent considering United seeks recoupment of benefits paid for

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             Exhibits A, S and T to United’s Amended Counterclaim identify every claim unpaid,
   partially paid, or paid by United for claims submitted for treatment, UDT and ancillary medication
   and physician services rendered by the TMC Facilities, National Labs, or Sunshine Doctors
   physicians.


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   treatment, even though United does not dispute that the treatment rendered for paid claims was
   preauthorized and medically necessary.
           United also seeks complete recoupment under the theory that purported patient brokering
   rendered all claims “against public policy, void and non-compensable,” regardless of whether the
   services were actually and appropriately rendered. (ECF No. 158, ¶¶ 110, 245.) Such a notion is in
   direct contradiction any calculation of “actual damages” or the fundamental basis for the doctrine of
   “unjust enrichment,” i.e. recompense for an unjust benefit actually conferred. Indeed, this very
   argument proposed by United has been expressly rejected by this Court.
           In State Farm Mutual Automobile Insurance Company v. Performance Orthopaedics &
   Neurosurgery, LLC, 278 F.Supp.3d 1307, 1329-30 (S.D. Fla. 2017), this Court rejected plaintiff
   insurer’s argument “that ‘it owed absolutely nothing for Defendant [provider]’s services . . . ’
   because ‘such services are ‘the product of an arrangement prohibited by Florida Statutes §§ . . .
   817,505, 502.201 et. seq., and 817.234.” The Court held that “the Court does not agree that Plaintiff
   owed nothing for Defendants’ services merely because of these violations.” Id.
           The State Farm Court reasoned that when a statute, like Fla. Stat. §§ 817.505 or 817.234(7),
   does not “expressly provide” that “[a]ll charges or reimbursement claims made in violation of these
   statutes” are “noncompensable” or “unenforceable,” particularly in the insurance context, violation
   of such statutes does not demand that Counter-Defendants are “owed nothing for [their] services.”
   Therefore, this Court “conclude[d] that the legislature did not intend” for such complete relief“ to
   exist here.” Id. United is not entitled to the relief it seeks.
           Further, summary judgment should be entered against United on FDUTPA cause of action
   because it cannot prove “actual damages” caused by Counter-Defendants’ UDT and billing practices
   or any purported unlawful patient brokering, because United made its own determination as to which
   claims pay with knowledge of the type, frequency and billed amount for UDT. For each claim paid
   by United, Counter-Defendants submitted complete claims which would indicate the service
   provided, the dates of service, the frequency of testing and panels tested for UDT claims, and the
   amount charged. (SMF ¶ 29.) United could have, and did request further clinical information if it
   felt additional information was needed, and would not have paid a claim if this information was not
   received. (SMF ¶ 31.)
           United paid claims only after making a determination that the services were medically
   necessary and covered. And because United chose how much to pay, United cannot produce

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   evidence that it paid anything over the reasonable value for services rendered, or the amount called
   for under the patient’s plan. Even assuming arguendo that most of the claims submitted were for
   “unnecessary” services, this could cause no damages because United had access to all the
   information it needed to pay only those it unilaterally deemed covered and medically necessary. The
   bottom line is, there is no evidence or allegation that the TMC Entities did not provide the treatment
   and UDT for which claims were submitted, and United only paid those claims it deemed covered
   under the patient’s plan. 2
           Similarly, United cannot prove any benefit unjustly retained by Counter-Defendants. United
   agreed to pay its members and Counter-Defendants for the provision of authorized and medically
   necessary services. The instant situation is no different than those in Behm, because it is undisputed
   that the Plaintiffs performed their end of the bargain, the services United authorized the Plaintiffs to
   perform. See Behm, 834 So 2d at 287. For claims United did pay, United chose the appropriate
   amount to pay for those claims under the terms of the patient’s plan. (SMF ¶ 30.) There are no
   damages in unjust enrichment because United, through its members, received the services that it paid
   for in accordance with the patient’s plan.
           United’s inability to prove damages is sufficient for summary judgment to be awarded in
   Counter-Defendants’ favor on its FDUTPA and unjust enrichment causes of action.
   B.      Counter-Defendants Should be Awarded Judgment on United’s FDUTPA Claim
           To prevail on its FDUTPA claim, United has the burden of proving (1) a deceptive act or
   unfair practice, (2) causation, and (3) actual damages. Beale v. Biomet, Inc., 492 F. Supp. 2d 1360,
   1373 (S.D. Fla. 2007). To prove deception or unfair practice, the plaintiff must either (a) show a per
   se violation, i.e. that the defendant violated a law, statute, rule, regulation, or ordinance which
   proscribes unfair, deceptive, or unconscionable acts or practices (Fla. Stat §501.203(3)(c)), or (b)
   independently establish that a practice is deceptive or unfair by proving unfair methods of
   competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

           2
            United also could not prevail on a theory of actual damages that but for “patient brokering,”
   the patient would not have received treatment from a TMC Facility. The individual patients were in
   need of care, and sought TMC for treatment, reflecting an intent to receive out of network substance
   abuse treatment. If the patient did not receive treatment from TMC, the patient would have sought
   and received treatment from another out of network facility which would have been rendered, billed
   to United, processed and paid pursuant to the terms of the patient’s out of network benefits all the
   same. United cannot produce evidence to the contrary.


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   conduct of any trade or commerce. Fla. Stat. §501.204(1); State Farm Mut. Auto. Ins. Co. v.
   Performance Orthopedics & Neurosurgery, LLC, 278 F. Supp. 3d 1307, 1326 (S.D. Fla. 2017).
   “Deception” occurs under FDUTPA only if there is a “representation, omission, or practice that is
   likely to mislead the consumer acting reasonably in the circumstances, to the consumer’s detriment.”
   State Farm Mut. Auto. Ins. Co. v. Physicians Injury Care Ctr, Inc., 2008 WL 11334170 *6 (quoting
   Merrill Lynch Bus. Fin. Svcs., Inc. v. Performance Machine Sys. U.S.A., 2005 WL 975773, *8 (S.D.
   Fla. 2005)). Only the deceived consumer may pursue money damages in a FDUTPA action.
   Physicians Injury Care, at *8-9 (M.D. Fla. Dec. 31, 2008).
           United asserts that Counter-Defendants violated FDUTPA through a traditional deception by
   ordering excessive, expensive and medically unnecessary UDT. (Counterclaim, ECF No. 158, ¶
   242.b-h.). United alternatively alleges per se FDUTPA violations alleging that Counter-Defendants
   engaged in “unlawful patient brokering” in violation of Fla. Stat. § 817.505 and “insurance fraud” by
   “fail[ing] to engage in good faith effort[s] to collect” patient responsibility, in violation of Fla. Stat. §
   817.234(7). (Id. at ¶¶ 242.a., i.).
           Summary judgment on the FDUTPA claim is appropriate because (1) United is not a
   “consumer” with standing under FDUTPA; and (2) United cannot show that Counter-Defendants
   engaged in any “deceptive” trade practice, unlawful patient brokering, or insurance fraud.
                   1.       United is Not a Consumer, and Cannot Show Standing to Pursue Money
                            Damages Under FDUTPA
           United alleges it is a “consumer” rather than a supplier or producer in order to obtain
   standing to seek money damages under FDUTPA. Only a statutory consumer may recover damages
   under this consumer protection statute. State Farm, 2008 WL 11334170 at *8-9; Fla. Stat. §
   501.211(2); Carroll v. Lowes Home Centers, Inc., 2014 WL 1928669 *3 (S.D. Fla. May 6, 2014)
   (“person” in § 501.211(2) applies only to “consumers”). Non-consumers “aggrieved,” including
   competitors, producers, and suppliers, may only seek injunctive relief or declaratory judgment. Fla.
   Stat. § 501.211(1). United’s standing to recover damages fails as a matter of law.
           In Physicians Injury Care Ctr, the Court held:
           Pursuant to Florida case law, a corporation that has acted as a supplier or producer is
           not considered a consumer and is precluded from proceeding under FDUTPA.
           Intervenors maintain that Plaintiffs were acting as providers of insurance coverage,
           thus not acting in the capacity of a purchasing consumer under FDUTPA. This Court
           agrees. Plaintiffs sold insurance policies to their insureds. Once injured, the insureds
           sought medical treatment as consumers. The insurer is not a purchaser of goods or
           services, but merely a third party obligated to reimburse the patient/insured for the
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          cost of treatment. Thus, Plaintiffs do not qualify as a consumer within the meaning of
          the FDUTPA.
   2008 WL 113341470 at *4. It is undisputed that for all of the alleged transactions, United acted as a
   provider of health care coverage. (UF, ¶ 7.) It is the insureds that sought medical treatment as
   consumers from the Counter-Defendants. United is not a purchaser of goods or services, but
   “merely a third party obligated to reimburse the patient/insured for the cost of treatment.” Id. United
   therefore has no standing to recover damages under FDUTPA, and this alone requires that summary
   judgment be entered in Cross-Defendants’ favor.
                  2.      United Cannot Make an Evidentiary Showing that Counter-Defendants
                          Engaged in any Traditional Deceptive or Unfair Act
          United must prove an “objective deception” which caused actual damages to United in
   support of its “traditional deception” theory of FDUTPA liability. See Democratic Republic of the
   Congo v. Air Capital Group, LLC, 614 Fed. Appx. 460, 470, No 14-11243 (11th Cir. June 15, 2015);
   Beale, 492 F. Supp. 2d at 1373. United alleges is was deceived by Counter-Defendants’ excessive,
   expensive, and medically unnecessary UDT. 3 (Counterclaim, ECF No. 158, ¶ 242.b-h.) United
   further alleges that Counter-Defendants’ drug testing and billing practices misled United. United has
   no evidence of deception. All of the claims United paid were submitted with comprehensive
   information sufficient for United to make a medical necessity and coverage determination under the
   patients’ plans. There is no evidence of a deception in the Counter-Defendants’ claim forms.
          Accordingly, there was no “objective deception.” United cannot assert or produce evidence
   that the TMC Facilities engaged in any deceptive trade practice concerning its submission of claims
   for treatment. The TMC Facilities obtained preauthorization from United prior to treatment and
   appropriately rendered that treatment. (SMF¶¶ 19-22, 38-39.) In obtaining preauthorization, the
   TMC Facilities contacted United and identified the patient, referenced the verification of benefits
   obtained from United, and relayed clinical information. (SMF ¶ 19.) And, throughout each patients’
   care, the Facilities reached out to United to receive further authorization as needed. (SMF ¶¶ 20-22.)



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            Though United breaks this down into multiple accusations (see, e.g., allegations of a
   “rote 3/2 Protocol of testing,” National Labs submitting “astronomical and unconscionable
   charges to United,” ordering “’double presumptive’ tests on the same date of service,” and
   ordering tests), these accusations all concern the assertion that Counter-Defendants tested too
   often and charged too much for testing. (Counterclaim, ECF No. 158, ¶ 242.b-h.)


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            Even if United denied preauthorization for any treatment, or even assuming arguendo that
    preauthorization was never requested, it is undisputed that United makes no payment for treatment,
    UDT or other ancillary medical service until a claim is submitted by the Facility. (SMF ¶ 30.) For
    every claim paid by United, complete claims were submitted using industry standard billing formats
    which clearly indicated to United the member receiving services, the service being provided, the
    dates of service and date of the claim (i.e. the frequency of testing), the panels being tested, and the
    amounts billed. (SMF ¶ 29.) These claims were submitted only for services actually rendered, and
    the objective facts stated on the claims form were accurate.
            If United needed further clinical information, it requested, or could have requested additional
    information within time frames afforded to health plans under relevant law. (SMF ¶ 31.) Indeed,
    while the Facilities and National Labs were “flagged,” United automatically requested additional
    clinical records rather than processing claims. (SMF ¶¶ 32-33.) United’s policy provided that
    “flagged” claims would be processed for payment only if the records were received. (SMF ¶¶ 34-
    36.) United only paid after receiving these records, or deciding to forego a records review.
            United only paid claims after making a determination that the services were medically
    necessary and otherwise covered under the patient’s plan upon processing and/or review of these
    claims forms and records, where needed. (SMF ¶ 30.) United’s processing of claims even involves
    a determination of the appropriate amount to pay, based on what United unilaterally determines is
    owed under the patient’s United plan. (SMF ¶ 30.) Indeed, for many of the small amount of claims
    United did pay, it chose to pay less than full billed charges. (SMF ¶ 30, 38.)
            None of this is in dispute. Thus, for all claims at issue in United’s FDUTPA cause of action,
    i.e. those that United actually did pay, United paid with eyes wide open. United determined which
    claims or which portion of those claims were payable, and for those, the appropriate amount to pay.
    There could be no objective deception as to the frequency of testing including any purported “double
    testing,” or the amount billed. Nor could there be damages “caused” by any purported deceptive
    trade practice, because United did not objectively or reasonably rely on Counter-Defendants’
    treatment, UDT or billing practices. United cannot produce evidence to the contrary.
            Indeed, this is borne out by the alleged damages contained in spreadsheets attached to
    United’s Counterclaim, which reflect that United has long refused to pay the vast majority of claims
    submitted by Plaintiffs during the relevant claims period. From years 2014-2017, United only paid
    on 14.5% of total claims, and paid about 9% of the billed amount of all claims. (SMF ¶40.)

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            This is not a case where United contends, let alone can produce evidence, that the bills were
    for phantom services – i.e., services never rendered. Clearly, United did not blindly rely on the
    claims submitted by Counter-Defendants in voluntarily determining which claims were payable.
    United cannot make any evidentiary showing of any objectively deceptive trade practice.
                    3.      United Cannot Make an Evidentiary Showing that Counter-Defendants
                            Engaged in Unlawful Patient Brokering or Insurance Fraud
            United similarly cannot make any showing of a per se violation of FDUTPA for
    purported “unlawful patient brokering” in violation of Fla. Stat. § 817.505, or failure to engage
    in a good faith effort to collect patient responsibility under Fla. Stat. § 817.234(7).
            Fla. Stat. § 817.505, effective July 1, 2017, provides that it is unlawful for a health care
    provider or facility to “[o]ffer or pay . . . to induce the referral of a patient or patronage to or from a
    health care provider,” or “[s]olicit or receive . . . in return for referring a patient or patronage to or
    from a health care provider,” “a commission, benefit, bonus, rebate, kickback, or bribe.” The statute
    expressly does not apply to “[a]ny discount, payment, waiver of payment or payment practice not
    prohibited by 42 U.S.C. §1320a-7b(b) [the federal “Anti-Kickback Statute”] or regulations
    promulgated thereunder.” Fla. Stat. § 817.505(3). United bases its “patient brokering claim on
    allegations that (a) AIR purportedly “makes money” by “plac[ing] or “refer[ring]” patients “to
    Treasure Coast and Lukens, (b) AIR pays its call center employees for the same, and (c) AIR and the
    TMC Facilities “pay for patients’ flights.” 4 (Counterclaim, ECF No. 158, ¶¶ 88-108.) None of this,
    even if true, constitutes unlawful “patient brokering.”


            4
              United misleadingly attempts to lump the TMC Entities with unscrupulous treatment
    centers in Florida which engage in illegal patient brokering in order to support its assertions. For
    instance, in support of a motion (ECF No. 147), United attached a criminal complaint issued against
    wholly unrelated parties in U.S. v. Eric Snyder and Christopher Fuller, and labels the alleged
    criminal activity as an “unfortunately common scheme” compared to the TMC Entities’ practices.
    (ECF No. 147, Ex. J.). The criminal defendants in Snyder were accused, among other egregious
    things, of hiring third-party recruiters who went out to on-site locations frequented by addicts.
    While there, those recruiters gave potential clients drugs and alcohol to entice them into attending
    defendant’s facility and ensure an initial positive UDT. Id.
            Even United’s worst accusations against TMC have no resemblance whatsoever to such
    unlawful conduct. To be clear, United’s patient brokering accusations are that AIR and their call
    center employees “refer” or place patients to the TMC Facilities with which they are affiliated and
    share common ownership. The TMC Facilities do not engage third-party recruiters or brokers to
    find potential clients, as is the normal instance of patient brokering.


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           First, AIR is not a “broker” for the TMC Facilities, and intracompany transfer of funds does
    not constitute unlawful patient brokering. United misleadingly accuses AIR of “getting paid, for
    patients” from Counter-Defendants’ facilities for purported “referrals.” Yet it is undisputed that AIR
    and the TMC Facilities are all under common ownership and control. (SMF ¶¶ 5, 6.) It is a regular
    business practice to do business through multiple affiliated entities for operational and administrative
    efficiency, such as AIR providing centralized call center services and TMC providing centralized
    management services for the TMC Entities. (SMF ¶ 4.) It is also common that where such entities
    provide different services or serve different communities, their respective revenues and operating
    expenses can vary markedly. Because all these entities are under common control, the managing
    head(s) may desire to move “surplus” revenue between entities to fund those, like AIR, who does not
    render patient care and therefore does not receive direct income in order to fund its operations.
    (SMF ¶ 13.) This is not payment for “referrals.”
           The TMC Entities cannot “broker” or “refer” patients to themselves. Nor would there be any
    practical incentive for AIR to be paid on a “referral” basis, since the funds all run to the same
    common ownership. The U.S. Department of Health and Human Services, Office of the Inspector
    General (“OIG”), tasked with implementing and investigating violations of the Anti-Kickback
    Statute, has opined that where “payments are transferred within a single entity, for example, from
    one division to another,” or “payments” are made “between wholly owned subsidiaries and other
    payments between entities where exclusive ownership control is present and the practice is not
    otherwise abusive,” the Anti-Kickback Statute—and thus, the patient brokering Statute—is not
    implicated. 56 Fed.Reg. 35983, 35984 (July 29, 1991). 5
           Second, United accuses AIR of improperly paying its own employees who work in the call
    center. § 817.505 and the Anti-Kickback Statute are not meant to govern how an entity pays its own
    employees. The Anti-Kickback Statute expressly provides a “safe harbor” for “any amount paid by
           5
              Further, AIR’s marketing efforts, even if funded by TMC, do not implicate § 817.505.
    Though it does not serve as the basis of United’s patient brokering allegations, United’s
    Counterclaim takes issue with TMC’s use of internet advertising. “[S]ection 817.505 does not
    inhibit a person’s right generally to solicit business,” and “does not prohibit routine advertising and
    marketing.” State v. Rubio, 917 So. 2d 383, 396 (Fla. 5th DCA 2005). The OIG has affirmed that
    “marketing and advertising activities should not be subject to prosecution” when they “are passive in
    nature and do not involve direct contact with program beneficiaries,” or where the individual or
    entity involved in these promotions is not involved in the delivery of health care.” State v. Harden,
    938 So.2d 480, 494 (Fla. 2006) (citing 56 Fed.Reg. 35,952).


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    an employer to [a] [bona fide] employee for employment in the provision of covered items or
    services.” 42 U.S.C. § 1320a-7b(b)(3)(B); see Fla. Stat. § 817.505(3) (patient brokering statute does
    not apply to payments or payment practices permitted under the Federal Anti-Kickback Statute).
    The Supreme Court of Florida has held that this safe harbor applies to “’per head’ referral payments”
    made to “bona fide employee[s]” involved in “marketing and advertising activities.” State v. Harden,
    938 So.2d 480, 494-95 (Fla. 2006). Here, AIR employees do not even engage in marketing, let alone
    seek out potential clients through making cold calls or recruiting patients in the field. (SMF ¶ 8.)
    Indeed, AIR employees do not engage in any “brokering” or “referral” of patients at all. AIR
    employees accept incoming calls, verify insurance coverage and direct those patients to an
    appropriate facility. (SMF ¶¶ 8, 9.) Payments to AIR employees are not evidence of any unlawful
    “patient brokering.”
            Third, Counter-Defendants do not pay for patients’ flights. (SMF ¶ 15.) Though AIR call
    center employees have helped arrange flights, and have booked flights for patients, the charges paid
    for flights are billed to the patient. (SMF ¶ 15.) However, even if AIR provided flights to a TMC
    Facility, this does not constitute patient brokering under § 817.505. The statute proscribes payments
    to induce a referral of a patient to or from a health care provider. The statute says nothing about a
    person or health care facility’s offer to pay or provide any benefit to a patient. Even if United were
    able to prove this allegation, arranging flights for patients would still not constitute any “referral” of
    a patient to or from any health care provider or facility. 6
            As for Fla. Stat. § 817.234(7), the statute makes it unlawful for a provider “to engage in a
    general business practice” of “agree[ing]” or “intend[ing] to waive deductibles or copayments.” The
    evidence reflects that TMC’s “general business practice,” is instead to make good faith efforts to
    collect patient responsibility. (SMF ¶¶ 23-28.) Fla. Stat. § 817.234(7) (“With respect to a
    determination as to whether a service provider has engaged in such general business practice,
            6
              Further, paying for a flight does not constitute an offer or pay of any “commission,”
    “bonus,” “rebate,” “kickback,” or “bribe.” The July 1, 2017 amendment to the current version of §
    817.505, which post-dates most of the claims subject to United’s Counterclaim (U.F. ¶ 38.),
    expressly added that offer or pay of a “benefit” could constitute unlawful patient brokering, to
    account for benefits not previously covered (though again, intending to proscribe benefits to patient
    brokers, not to the patient him or herself). See FL HB 807; 2017 amendment by s. 24, ch. 2017-173.
    Even if the provision of things like “flights” to a patient could constitute patient brokering as of the
    July 1, 2017 amendment, it would not have for any of the claims at issue in United’s Counterclaim
    which predate this amendment.


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    consideration shall be given to evidence whether the . . . provider made a good faith attempt to
    collect such deductible or copayment.”) The TMC Entities’ practice is to collect whatever patient
    responsibility it can up front. (SMF ¶ 24.) For amounts that could not be collected at intake, or that
    cannot be determined until a claim is processed, TMC sends out collection statements each month
    for at least the first three months after a patient has outstanding amounts due, and follow up with
    periodic phone calls and a collection agency, if needed. (SMF ¶ 26.) Recently, TMC engaged a
    collection agency to engage in further collection efforts on behalf of the TMC Entities if the patient
    still has not paid all outstanding amounts. (SMF ¶ 28.)
            Further, as a threshold matter, even if United could prove a violation of the patient brokering
    or co-pay waiver statutes, which it cannot, violation of these statutes do not constitute a per se
    violation of FDUTPA. “Violations of law or statutes that give rise to a FDUTPA claim must be of
    the kind that proscribe unfair trade practices or unfair methods of competition, not . . . a violation of
    any law or statute that might have some benefit to consumers.” In re Edgewater by the Bay, LLLP,
    419 B.R. 511, 516 (S.D. Fla. 2009). “A general, indirect link between a statute and consumer
    protection goals is insufficient to uphold a FDUTPA claim.” Hucke v. Kubra Data Transfer Ltd.,
    2015 WL 12085833, *8 (S.D. Fla. Oct. 8, 2015).
            Neither statute on its face concerns any proscription of a practice involving trade or unfair
    competition. Both statutes are found under Florida’s statutory framework for criminal fraud, and do
    not work in the consumer context. Fla. Stat. § 817.234 is designed to protect insurance companies
    from fraudulent billing practices. As recognized in Physicians Injury Care Ctr, an insurer is not a
    consumer in this context. Because § 817.234 is not designed to prevent deceptive practices in the
    consumer context, it will not support a FDUTPA claim. See Hucke, 2015 WL 12085833 at *8. And
    § 817.505’s prohibition against unlawful patient brokering is not meant to protect insurers like
    United at all. Instead, the statute is intended to protect the well-being of patients put at risk by
    abusive practices which result in provider decisions based on financial interests rather than the
    patient’s quality of care or necessity of services. “Trade” or “competitive” concerns of the patient
    are not at stake, let alone directly at issue.
            United cannot make a legal or factual showing of that Counter-Defendants engaged in any
    conduct which constituted a per se violation of FDUTPA.




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    C.     Summary Judgment Should be Entered for Cross-Defendants on United’s Unjust
           Enrichment Claim
           To state a claim for unjust enrichment, a plaintiff must allege: 1) benefit conferred upon a
    defendant by the plaintiff, 2) the defendant’s appreciation of benefit, and 3) the defendant’s
    acceptance and retention of benefit when circumstances make it inequitable for him to retain it.
    Florida Power Corp. v. City of Winter Park, 887 So.2d 1237, 1241 n.4 (Fla. 2004). United’s Unjust
    Enrichment cause of action is based on the same factual accusations underlying its FDUTPA cause
    of action, and similarly fails for many of the same reasons.
           United asserts that Counter-Defendants received benefits to which it was not entitled, for the
    same purported “deception” and “patient brokering” which underlies its FDUTPA cause of action.
    (ECF No. 158, ¶ 251 (“false and fraudulent statements or omissions of fact to United, with respect to
    the medical necessity and authorization for the UDT it allegedly performed.”); Id. at ¶ 252
    (“Counter-Defendants engaged in an unlawful patient brokering and kickback scheme through which
    patients were referred to Web treatment facilities, rendering claims for treatment void and non-
    compensable.”).) For the same reasons that United cannot prove a FDUTPA violation, United could
    not have been “defrauded” or “deceived” by claims submitted for purportedly excessive or
    unnecessary services because submitted claims forms provided United all the information it needed
    to know the frequency, necessity and charged amount of each claim. There was no “false” or
    “fraudulent” statement, or at least not any sort of justifiable reliance on any claim submitted for
    purportedly “unnecessary” services. Also, none of the purported acts of “patient brokering” actually
    constitutes unlawful patient brokering in violation of Fla. Stat. § 817.505. United cannot produce
    any other evidence of TMC business practices which comes anywhere near unlawful “fraud” or
    “patient brokering” so as to warrant equitable relief.
           Further, it is undisputed that United voluntarily paid for services that were actually rendered
    by Counter-Defendants. There is no assertion that the services paid for by United were not actually
    rendered. Florida's “voluntary payment doctrine provides that ‘where one makes a payment of any
    sum under a claim of right with knowledge of the facts, such a payment is voluntary and cannot be
    recovered.’” Ruiz v. Brink's Home Sec., Inc., 777 So.2d 1062, 1064 (Fla. 2d DCA 2001); Hall v.
    Humana Hosp. Daytona Beach, 686 So.2d 653, 656 (Fla. 5th DCA 1996) (finding no unjust
    enrichment in a healthcare provider being paid the full price for services rendered); and see New
    York Life Ins. Co. v. Leeks, 165 So. 50, 53 (Fla. 1935) (finding insured could not recoup money
    voluntarily paid to insurer); Hassen v. Mediaone of Greater Fla., Inc., 751 So.2d 1289 (Fla. 1st DCA
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    2000) (applying voluntary payment doctrine to dismiss equitable claim for overpayments: “It does
    not matter that the payment may have been upon a mistaken belief . . . .”).
            In Hall, purchasers of healthcare services sued a provider under an unjust enrichment theory
    for allegedly charging unreasonable fees for ancillary medical services received which plaintiffs
    paid. Hall, 686 So. 2d at 655-656. Their suit sought “a refund of such overpayments.” Id. at 656.
    Applying the voluntary payment doctrine, the court found nothing unjust “in the act of sending a
    bill” to a purchaser of healthcare services “seeking payment” after the services have been rendered.
    Id. This is precisely what happened in the present action. The TMC Entities sent United their bills
    for the services for which United chose to pay a small portion. The Plaintiffs did not engage in any
    trickery in claims submission, or any other inequitable act compelling payment from United.
            D.      Summary Judgment Should be Entered for Cross-Defendants on United’s
                    Overpayments Claim Under ERISA 502(a)(3)
            ERISA § 502(a)(3) allows a civil action brought by a “participant, beneficiary or fiduciary”
    to “enjoin any act or practice which violates any provision of [ERISA] or the terms of the [ERISA]
    plan,” or “to obtain other appropriate equitable relief (i) to redress such violations or (ii) to enforce
    any provisions of this subchapter or the terms of the plan.” Section 502(a)(3) specifically allows
    only for injunctive or other equitable relief, and “must refer to ‘those categories of relief that were
    typically available in equity.” Great-West Life & Annuity Ins. Co. v. Knudson, 534 U.S. 204, 210
    (2002); Popowski v. Parrott, 461 F. 3d 1367, 1372 (11th Cir. 2006) (same). “Whether a remedy is
    ‘legal or equitable depends on the basis for [the plaintiff’s] claim and the nature of the underlying
    remedies sought.’” Id. “[A] claim that, in essence, seeks ‘nothing more than compensatory
    damages’ – for example, one that seeks simply to ‘impose personal liability . . . for a contractual
    obligation to pay money’ is not equitable for the purposes of [ERISA § 502(a)(3)].” Popowski, 461
    F.3d at 1372 (quoting Sereboff v. Mid Atlantic Medical Services, Inc., 547 U.S. 356, 363 (2006)).
            United’s § 502(a)(3) cause of action seeks nothing more than recoupment of benefits paid to
    National Labs which purportedly “do not constitute covered services under the relevant health and
    welfare benefit plans.” (Counterclaim, ECF No. 158, ¶ 264.) In order to attempt to fashion its claim
    for compensatory damages as equitable, United seeks a “constructive trust” over these benefits
    payments, and an “order requiring the return of such funds.” Counter-Defendants’ Motion to
    Dismiss addresses that United’s § 502(a)(3) cause of action should be dismissed because it is nothing
    more than a claim for compensatory damages, rather than relief in equity. But in the alternative,
    summary judgment should also be entered in Counter-Defendants’ favor because United cannot meet
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    its burden of proving any violation of ERISA or an ERISA plan, or any “wrongdoing” on the part of
    Counter-Defendants that would warrant equitable relief.
           As the basis for its request for recoupment, United asserts that National Labs used the wrong
    Place of Service (“POS”) code on its claims. (Id. at ¶¶ 190-202.) The actual technical component of
    services rendered by National Labs was at the laboratory itself, which would seemingly, and
    logically correspond to using POS Code 81, for “Independent Laboratory.” However, according to
    United, National Labs should have identified the POS as the place where the sample was collected,
    not where testing was performed.          (Id.)   United contends that its own unilaterally set
    “Reimbursement Policies” require samples collected at the treatment facility be coded as 11 or 22 in
    order to get paid (which refer to “Office” or “On Campus-Outpatient Hospital,” neither of which fit
    even the treatment facilities’ description), even though National Labs is not contracted with United
    and has no legal obligation to fill out claims in accordance with any reimbursement policy. (Id. at ¶
    196.) Because of what United asserts was a billing error, United seeks a constructive trust be placed
    on all payments made, to be returned to United.
           As an initial matter, § 502(a)(3) as stated only allows equitable relief to address “violations”
    of ERISA plans or provisions. United has not alleged, and cannot meet its burden of showing that
    any ERISA provision or plan was violated. Green v. Holland, 480 F.3d 1216, 1225-26 (11th Cir.
    2007) (“either an ERISA violation or a Plan violation . . . is a prerequisite to pursuing an action for
    equitable relief under the plain language of § 502(a)(3)”). National Labs is not contracted with
    United, and is not a party to any ERISA plan. National Labs is not obligated to submit testing in
    accordance with any United Reimbursement Policy.
           Second, the elements of a constructive trust are “(1) a confidential relationship, by which (2)
    one acquires an advantage he should not, in equity and good conscience retain.” Bender v. CenTrust
    Mortg. Corp., 51 F.3d 1027, 1029-30 (11th Cir. 1995). A constructive trust is a remedy in equity “to
    prevent the unjust enrichment of culpable parties,” where the beneficiary of the trust “is entitled to
    have his original interest restored in his property which was wrongfully taken.” Id. “The essence of
    the theory of constructive trust is . . . to prevent a person from taking advantage of his or her own
    wrongdoing.” Platypus Wear, Inc. v. Horizonte Fabricacao Distribuicao Importacao E Exportacao
    Ltda, 2015 U.S. Dist. LEXIS 184368, *7 (S.D. Fla. Mar. 2, 2015).
           It is undisputed that no such “confidential relationship” exists between United and Counter-
    Defendants. National Labs certainly does not act as any sort of fiduciary to United, and while

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    United may act as a fiduciary to the Plan and its beneficiaries, no such relationship exists between
    United and National Labs. National Labs is not a party to the ERISA plans and United does not
    plead otherwise. Further, National Lab’s purported miscoding of the POS is not legally cognizable
    “wrongful” behavior on the part of National Labs. There is no evidence of any intent on the part of
    National Labs to defraud or deceive United. To the contrary, the claims forms submitted for each
    UDT set forth the “service facility location” where the sample was collected, and indicates that
    National Labs is an “outside lab.” (SMF ¶ 29.) Further, United did or could have requested clinical
    records and additional information which reveal the facility where a sample is collected. Nothing in
    the evidence contradicts this. United cannot get equitable relief because it now feels it made a
    mistake in paying claims. Summary Judgment should be entered for Counter-Defendants as to
    United’s ERISA § 502(a)(3) Overpayment cause of action.
           E.      In the Alternative, Partial Summary Judgment Should be Entered for Cross-
                   Defendants on United’s Time-Barred Claims
           The payment dates of the claims subject to United’s Counterclaims can be discerned from the
    spreadsheets attached thereto, spanning years 2014-2017. (SMF ¶ 38.) Many of the claims are time-
    barred pursuant to Florida’s “Prompt Pay” statutes set forth in Fla. Stat. §§ 641.3155(5)(a)(1) and
    627.6131(6)(a)(1), which require that “[a]ll claims for overpayment must be submitted to a provider
    within 30 months” after United’s “payment of the claim.” United’s Counterclaims are nothing more
    than recoupment of overpayments on grounds of medical necessity, pled under FDUTPA and Unjust
    Enrichment to try to get around these timing and procedure requirements. The only damages sought
    by United are for recoupment of purported overpayments.
           The same time limitation applies to United’s ERISA claim. ERISA contains a limitation of
    actions provision that only applies for certain breach of fiduciary duty actions, which does not apply
    here. 29 U.S. Code § 1113. For other ERISA claims, the “most analogous” limitation provided
    under state law applies. Harrison v. Digital Health Plan, 183 F.3d 1235, 1238. There is no more
    analogous state law limitation for a “Claim for Overpayment” than Florida’s “Prompt Pay”
    regulations. Even assuming United’s causes of action survive summary judgment, partial summary
    judgment should be entered against United on all claims paid by United prior to October 31, 2015,
    i.e., 30 months prior to the filing of United’s Original Counterclaim, as time barred.
           F.      United’s Request for Declaratory Relief Should be Denied
           United seeks declaratory orders that (1) Plaintiffs’ “unpaid charges for” UDT “are not owed
    because they are the product of an unlawful testing scheme to collect insurance benefits,” and (2)
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    any “unpaid charges for any service that are the product of a patient brokering or kickback
    arrangement are not owed because they are deceptive, unfair and unlawful.” (Id. at ¶ 275.)
            As set forth in Counter-Defendants’ Motion to Dismiss, United’s declaratory relief cause of
    action seeks nothing more than affirmation that it prevails on its defenses to Plaintiffs’ FAC. This
    will be litigated in connection with Plaintiffs’ affirmative causes of action, and United’s request for
    declaratory relief serves no salutary purpose. See Fernando Grinberg Trust Success Int. Props. LLC
    v. Scottsdale Ins. Co., No. 10-20448-CIV, 2010 WL 2510662, at *1 (S.D. Fla. June 21, 2010) (“a
    trial court should not entertain an action for declaratory judgment on issues which are properly raised
    in other counts of the pleadings and already before the court”).
            Further, United’s request for a declaration that any “unpaid charges for any service that are
    the product of a patient brokering or kickback arrangement are not owed” is untenable as a matter of
    law. This very same requested relief has been rejected at the motion to dismiss stage by numerous
    courts. For example, the District Court of the Middle District of Florida, in Millenium Laboratories,
    Inc. v. Universal Oral Fluid Laboratories, LLC, 2012 WL 12905083, at *4 (M.D. Fla. Apr. 25,
    2012), held that a plaintiff is “unable to seek declaratory relief as to Florida Statutes §§ 817.505,
    456.054 and 483.245 because none of these statutes appear to imply a private right of action.” The
    Millenium court reasoned that “[t]he Declaratory Judgment Act is not an independent source of
    federal jurisdiction and does not create remedies that are otherwise unavailable,” such that the
    availability of declaratory relief “presupposes the existence of a judicially remedial right.” Id.
            This District Court in State Farm similarly rejected and dismissed the exact declaratory relief
    requested here, that “any ‘unpaid charges of [providers] that have been submitted . . .. are not owed
    because they are the product of an arrangement prohibited by Florida Statutes §§ 395.0185, 456.054,
    817.505 . . . ,” on grounds that “Plaintiff [insurer] has failed to establish that Defendant [provider] in
    fact is owed nothing for its services,” because violations of the “patient brokering” statutes did not
    render “[a]ll charges or reimbursement claims made in violation of these statutes . . . unlawful or
    noncompensable or unenforceable.” Id. at 1329-30 (quotations omitted).
            Accordingly, United’s request for declaratory relief should be denied.
            G.      Partial Summary Judgment Should be Entered Precluding Assertion of
                    United’s 15th and 18th Affirmative Defenses
            United’s 15th and 18th affirmative defenses assert that “Plaintiffs’ claims are non-
    compensable” for purported violations of Fla. Stat. § 817.234(7)(a) and 817.505, the same co-pay

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    waiver and patient brokering statutes underlying United’s FDUTPA and Unjust Enrichment Causes
    of Action. Summary judgment should be entered against United on these defenses for the same
    reasons §§ 817.234(7) and 817.505 cannot support United’s Counterclaim.
           The “burden of proving each element of an affirmative defense rests on the party that asserts
    the defense.” Paladin Shipping Co. v. Star Capital Fund, Ltd. Liab. Co., 491 F. App'x 42, 44 (11th
    Cir. 2012) (quoting Custer Med. Ctr. v. United Auto. Ins. Co., 62 So. 3d 1086, 1097 (Fla. 2010)).
    Thus, United’s burden of showing the existence of facts supporting Plaintiffs’ violation of §§
    817.234(7) and 817.505 to defeat summary judgment is the same for United’s affirmative defenses
    as it is for United’s Counterclaim. Celotex, 477 U.S. at 322. For the reasons set forth in full above,
    United cannot meet this burden.
           United cannot produce evidence showing that Plaintiffs have a “general business practice” of
    waiving patient responsibility, or that Plaintiffs do not make good faith attempts to collect such
    patient responsibility. (SMF ¶¶ 23-29.) Nor can United produce evidence showing that Plaintiffs’
    committed unlawful patient brokering, especially considering that United’s accusations of Plaintiffs
    paying AIR for placing patients and/or AIR paying for patients’ flights, even if true, do not
    constitute patient brokering. Moreover, violations of these statutes do not render Plaintiffs’ unpaid
    benefits claims “noncompensable” as asserted in United’s affirmative defenses. State Farm, 278
    F.Supp.3d at 1329-30 (“the Court does not agree that Plaintiff is owed nothing for Defendants’
    services merely because of these violations”).
           For the reasons set forth in full herein, partial summary judgment should be entered against
    United on its 15th and 18th affirmative defenses.
                                      V.      CONCLUSION
           For the reasons stated herein, the Court should grant Plaintiffs’ and Counter-Defendants’
    Motion in its entirety.




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    Dated: July 13, 2018                     Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           I hereby certify that on July 13, 2018, a true and correct copy of the foregoing was

    electronically filed with the Clerk of the Court using CM/ECF. Copies of the foregoing document

    will be served via Notices of Electronic Filing generated by CM/ECF or in some other authorized

    manner for those counsel or parties who are not authorized to receive electronically Notices of

    Electronic Filing listed on the Service List below.



                                                  /s/ Jason S. Mazer_________
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